

Matter of Mundell v New York State Dept. of Transp. (2020 NY Slip Op 04101)





Matter of Mundell v New York State Dept. of Transp.


2020 NY Slip Op 04101


Decided on July 17, 2020


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on July 17, 2020
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: CENTRA, J.P., LINDLEY, NEMOYER, CURRAN, AND WINSLOW, JJ.


1117 CA 19-00610

[*1]IN THE MATTER OF LEANNE MUNDELL, PETITIONER-RESPONDENT,
vNEW YORK STATE DEPARTMENT OF TRANSPORTATION, RAYMOND LAMARCO, DIRECTOR, OFFICE OF HUMAN RESOURCES, NEW YORK STATE DEPARTMENT OF TRANSPORTATION, RESPONDENTS-APPELLANTS, ET AL., RESPONDENTS. (APPEAL NO. 3.) 






LETITIA JAMES, ATTORNEY GENERAL, ALBANY (OWEN DEMUTH OF COUNSEL), FOR RESPONDENTS-APPELLANTS.
BOSMAN LAW FIRM, LLC, BLOSSVALE (A.J. BOSMAN OF COUNSEL), FOR PETITIONER-RESPONDENT. 


	Appeal from an order of the Supreme Court, Oneida County (Bernadette T. Clark, J.), entered December 26, 2018 in a CPLR article 78 proceeding. The order granted the application of petitioner insofar as it sought attorneys' fees and costs pursuant to CPLR article 86. 
It is hereby ORDERED that the order so appealed from is unanimously reversed on the law without costs and that part of the application seeking attorneys' fees and costs pursuant to CPLR article 86 is denied.
Same memorandum as in Matter of Mundell v New York State Dept. of Transp. ([appeal No. 1] — AD3d — [July 17, 2020] [4th Dept 2020]).
Entered: July 17, 2020
Mark W. Bennett
Clerk of the Court








